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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


    JOHN NAVELSKI, LINDA
    NAVELSKI, ERICK
    ALEXANDER, JACOB
    HUTCHINS, AMBER
    HUTCHINS, JEANNE
    HENDERLY, RICHARD
    BULLARD, and BEVERLY
    BULLARD, on their own behalf
    and those others similarly situated,

         Plaintiffs,

    v.                                      Case No. 3:14-cv-00445
                                            MCR/CJK
    INTERNATIONAL PAPER
    COMPANY,

         Defendant.


   DEFENDANT INTERNATIONAL PAPER COMPANY’S MOTION IN
   LIMINE TO EXCLUDE EVIDENCE OF SUBSEQUENT REMEDIAL
    MEASURES AND INCORPORATED MEMORANDUM OF LAW

      Defendant International Paper Company (“IP”) respectfully moves in limine

for an order excluding evidence regarding IP’s remediation efforts following the

breach of the structure sometimes referred to as the Kingsfield Road Dam. In

support of its motion, IP submits the following memorandum of law.
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                                 INTRODUCTION

       Plaintiffs allege negligence, trespass, nuisance, and strict-liability claims

against IP arising from the breach of a structure sometimes referred to as the

“Kingsfield Road Dam” on IP’s property in Cantonment, Florida, during a record

rainstorm in April 2014. Following the storm and breach of the Kingsfield Road

Dam, IP removed the structure and took other remedial steps in the Elevenmile

Creek drainage channel.

       Plaintiffs have indicated to IP that they intend to introduce at trial documents

such as conceptual designs from consultants and engineers, invoices, construction

schedules, and emails pertaining to the post-storm remediation work. Plaintiffs

have also asked questions during IP employees’ depositions regarding the post-

storm remediation efforts and are likely to do so again at trial. IP has conferred

with Plaintiffs regarding the inadmissible nature of this evidence, but Plaintiffs

have not agreed to remove the remediation-related documents from their exhibit

list or to refrain from eliciting testimony regarding the post-storm remediation

efforts at trial.

       The Court should exclude all exhibits and testimony, including expert

testimony, regarding the post-event remedial work performed by IP, including the

removal of the Kingsfield Road Dam, because it is inadmissible under Federal

Rule of Evidence 407. Rule 407 bars the introduction of evidence of subsequent


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remedial measures to prove negligence or culpable conduct, because the post-

incident remedial work could be misconstrued by the jury as an admission of fault

by the defendant and would create disincentives to improving safety in the

aftermath of an accident. Evidence of IP’s post-storm remediation project should

also be excluded under Federal Rule of Evidence 403, because any minimal

probative value is substantially outweighed by the unfair prejudice to IP and the

jury confusion that would inevitably result from the admission of this evidence.

The issues to be resolved in the liability trial turn exclusively on IP’s pre-storm

conduct and the causation of the flooding in the class area on the evening of April

29–30, 2014, and do not implicate IP’s actions after the storm.

                                   ARGUMENT

 I.    Evidence Of IP’S Post-Storm Remediation Project Is Inadmissible
       Under Federal Rule Of Evidence 407.
       Federal Rule of Evidence 407 bars the admission of evidence of subsequent

remedial measures. Rule 407 states, in relevant part: “When measures are taken

that would have made an earlier injury or harm less likely to occur, evidence of the

subsequent measures is not admissible to prove: negligence; culpable conduct; a

defect in a product or its design; or a need for a warning or instruction.” Fed. R.

Evid. 407. The inadmissibility of evidence of subsequent remedial measures is

grounded in the “social policy of encouraging people to take, or at least not



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discouraging them from taking, steps in furtherance of added safety.” Fed. R.

Evid. 407 Advisory Committee’s Notes to 1972 Proposed Rules.

      Both the plain language of Rule 407 and its underlying policies require

excluding evidence of IP’s post-storm remediation work.

         A. IP’s Post-Storm Remediation Project Is A Remedial “Measure”
            Covered By Rule 407.
      Rule 407 prohibits the introduction of any “measures” taken after an incident

that would have “made an earlier injury or harm less likely to occur.” Fed. R.

Evid. 407. As the Eleventh Circuit has emphasized, the language of Rule 407 is

“broad[]” with respect to the post-incident measures excluded under the rule.

Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560, 1567 n.14 (11th Cir.

1991). Excluded subsequent remedial measures can be as simple as leaving open

an automated sliding glass door that closed on a cruise-ship passenger’s foot. Id. at

1562, 1567 & n.14.

      IP’s post-storm remediation efforts, including the removal of the Kingsfield

Road Dam, are a quintessential example of subsequent remedial measures.

Plaintiffs assert that the breach of the Kingsfield Road Dam caused all of the

flooding in the class area. After the April 2014 storm, IP removed the structure

and performed additional remedial work in the area. These measures necessarily

make the harm alleged by Plaintiffs—flooding supposedly caused by the breach of

the Kingsfield Road Dam—“less likely to occur” within the meaning of Rule 407.
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Similar to the defendant in Wilkinson—who made it less likely that the sliding door

would close on passengers’ feet by leaving the door open, see 920 F.2d at 1567 &

n.14—IP has eliminated the risk of any future flooding attributable to a breach of

the Kingsfield Road Dam by removing the structure altogether.

          B. Rule 407 Applies To All Of Plaintiffs’ Claims.

      Rule 407 prohibits the admission of evidence of subsequent remedial

measures for certain purposes, including to prove “negligence” and “culpable

conduct.” Fed. R. Evid. 407. The expansive language of the rule prohibits

Plaintiffs from introducing evidence of IP’s post-storm remediation work to prove

any of their four claims against IP.

      The plain language of Rule 407 expressly bars the use of IP’s post-storm

remediation project to prove Plaintiffs’ negligence claim. See Wilkinson, 920 F.2d

at 1562, 1567 (holding that Rule 407 prohibits the introduction of evidence of

subsequent remedial measures to prove negligence).

      Rule 407 also prohibits Plaintiffs from introducing evidence of subsequent

remedial measures to prove their trespass, nuisance, and strict-liability claims,

because those claims allege that IP engaged in “culpable conduct” within the

meaning of the rule. The term “culpable” encompasses conduct that is

“blameworthy” or that “[i]nvolv[es] the breach of a duty.” Black’s Law Dictionary

(10th ed. 2014). Based on the rule’s expansive scope, federal courts have


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repeatedly held that Rule 407’s prohibition on evidence of subsequent remedial

measures applies to trespass, nuisance, and strict-liability claims. See, e.g.,

Jongeward v. BNSF Ry. Co, No. 09-cv-0010-RMP, 2010 WL 1372696, at **2, 4

(E.D. Wash. Apr. 6, 2010) (applying Rule 407 in a suit involving nuisance,

trespass, and negligence claims); Young v. Crowley Liner Sers., Inc., No. 06-cv-

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(applying Rule 407 in a suit involving nuisance, trespass, toxic trespass, and

negligence claims); Heath v. E.I. DuPont de Nemours & Co., No. 93-cv-0740E(H),

1996 WL 378174, at *1 & n.9 (W.D.N.Y. June 25, 1996) (applying Rule 407 to a

suit involving nuisance, trespass, and negligence claims); Hall v. Am. S.S. Co., 688

F.2d 1062, 1066 (6th Cir. 1982) (applying Rule 407 to a strict-liability claim);

Munasar v. Alaska Tanker Co. LLC, No. 11-cv-04044 RS, 2012 WL 7187321, at

*1–2 (N.D. Cal. Oct. 17, 2012) (applying Rule 407 to a strict-liability claim); see

also E. Air Lines, Inc. v. Am. Cyanamid Co., 321 F.2d 683, 690–91 (5th Cir. 1963)

(excluding post-incident evidence in a nuisance case prior to the adoption of Rule

407 because it “was an indication of planned subsequent improvements”).

      To the extent there was ever a question regarding the applicability of Rule

407 to strict-liability claims, that question was resolved in 1997 when Rule 407

was amended to clarify that it extends to claims based on a “defect in a product or

its design.” See Fed. R. Evid. 407 Advisory Committee’s Notes to 1997


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Amendment (explaining that the rule was amended to adopt the majority view on

the issue). In fact, even prior to the 1997 amendment, the Eleventh Circuit held

that Rule 407 applies to strict-liability claims. See Wood v. Morbark Indus., Inc.,

70 F.3d 1201, 1206–07 & n.3 (11th Cir. 1995) (holding that Rule 407 applies in

strict-liability cases regarding product defects).

       Applying Rule 407 to Plaintiffs’ trespass, nuisance, and strict-liability

claims—in addition to their negligence claim—would also further the important

policies animating the rule. As the Advisory Committee explained, the “[r]ule

rests on two grounds”—first, that “[t]he conduct is not in fact an admission” of

liability, and second, “a social policy of encouraging people to take, or at least not

discouraging them from taking, steps in furtherance of added safety.” Fed. R.

Evid. 407 Advisory Committee’s Notes to 1972 Proposed Rules. Excluding the

evidence of IP’s post-storm remediation project would advance those objectives by

promoting safety enhancements in the wake of accidents. In contrast, permitting

Plaintiffs to introduce that evidence simply because they pled claims other than

negligence would enable future litigants to circumvent Rule 407 and create a

strong disincentive for defendants to take remedial steps in the aftermath of an

incident for fear that those measures could be used against them to establish

liability.




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        To be sure, Rule 407 provides an exception for evidence of subsequent

remedial measures that is used for “impeachment or—if disputed—proving

ownership, control, or the feasibility of precautionary measures.” Fed. R. Evid.

407. But IP has never disputed its ownership or control of the Kingsfield Road

Dam or contended that it was not feasible to remove the structure. Nor are there

any permissible impeachment-related uses of the evidence of subsequent remedial

measures, because any questioning by Plaintiffs’ counsel that could lead to such

impeachment would itself be barred by Rule 407. Those exceptions are therefore

categorically inapplicable here. See Wilkinson, 920 F.2d at 1567–68 (emphasizing

that the exceptions to Rule 407 should be applied with “[c]are” to ensure that they

are “not used merely as subterfuge to prove negligence or culpability of the

defendant” (internal quotation marks omitted)).

        Accordingly, the Court should exclude all evidence of IP’s post-storm

remediation project under Rule 407.

II.     Evidence Of IP’s Post-Storm Remediation Project Is Inadmissible
        Under Federal Rule Of Evidence 403.
        Evidence regarding IP’s post-storm remediation work should also be

excluded under Federal Rule of Evidence 403. Rule 403 authorizes the Court to

“exclude relevant evidence if its probative value is substantially outweighed by a

danger of one or more of the following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting

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cumulative evidence.” Fed. R. Evid. 403. The Advisory Committee’s Notes to

Rule 407 emphasize that any evidence of subsequent remedial measures “not

barred by Rule 407 may still be subject to exclusion on Rule 403 grounds when the

dangers of prejudice or confusion substantially outweigh the probative value of the

evidence.” Fed. R. Evid. 407 Advisory Committee’s Notes to 1997 Amendment.

That would be precisely the case here if Rule 407 did not bar the admission of

Plaintiffs’ evidence of subsequent remedial measures.

      Evidence of IP’s post-storm remediation project has, at most, extremely

limited probative value to any of Plaintiffs’ claims. See Fed. R. Evid. 407

Advisory Committee’s Notes to 1972 Proposed Rules (“[Post-event] conduct is

equally consistent with injury by mere accident.”). As the United States Supreme

Court has long recognized, subsequent remedial measures “evidence is

incompetent, because the taking of such precautions against the future is not to be

construed as an admission of responsibility for the past, has no legitimate tendency

to prove that the defendant had been negligent before the accident happened, and is

calculated to distract the minds of the jury from the real issue, and to create a

prejudice against the defendant.” Columbia & P.S.R. Co. v. Hawthorne, 144 U.S.

202, 207 (1892). To allow its admission would be “to hold that, ‘because the

world gets wiser as it gets older, therefore it was foolish before.’” Fed. R. Evid.




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407 Advisory Committee’s Notes to 1972 Proposed Rules (quoting Hart v.

Lancashire & Yorkshire Ry. Co., 21 L.T.R. N.S. 261, 263 (1869)).

      Evidence of IP’s post-storm restoration project suffers from those exact

relevance problems. All of Plaintiffs’ claims turn on IP’s maintenance of the

Kingsfield Road Dam and whether the breach of the structure caused all of the

flooding in the class area. See ECF No. 38, ¶¶ 64 (alleging that IP was “negligent

in the conduct of its operation, management, maintenance, and control of the

Kingsfield Road Dam”), 68 (alleging that IP “fail[ed] to properly operate, manage,

and maintain the Kingsfield Road Dam”), 71 (same for nuisance), 75–76 (alleging

that IP’s “use of the Kingsfield Road Dam was [] non-natural” and “an

ult[r]ahazardous activity”); see also ECF No. 105 at 11 (explaining that the

liability jury will “determine whether or not all of the flooding experienced by

Plaintiffs was caused by the failure of the Kingsfield Road Dam” (emphasis in

original)). The removal of the Kingsfield Road Dam after the April 2014 storm

sheds little, if any, light on IP’s conduct prior to the storm or the cause of the

flooding in the class area during the storm. See Wood, 70 F.3d at 1206–07 (“We

are persuaded that Rule 407 is necessary in [strict products liability] cases to focus

the jury’s attention on the product’s condition or design at the time of the

accident.”).




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      Plaintiffs have included in their proposed exhibit list several documents that

discuss IP’s post-storm remediation efforts, including the removal of the

Kingsfield Road Dam. For example, they include a memorandum between two

third-party consultants regarding a proposal to IP to modify the Kingsfield Road

Dam area to allow runoff to “be carried through [a] stabilized natural channel that

will flow through the breach in the dam embankment,” “to minimize potential for

flood flows to impound behind the embankment and [] minimize additional erosion

of [] embankment material,” as well as to “minimize future loss of onsite

sediment.” See Ex. A, Project Memorandum. Plaintiffs also include a subsequent

email exchange with one of the same third-party consultants noting that “the

project was approved.” See Ex. B, Email Re: Elevenmile Creek. Plaintiffs also

include a conceptual design of the new creek channel from the other third-party

consultant. See Ex. C, Conceptual Design of Elevenmile Creek Dam Breach.

Plaintiffs also seek to introduce an email listing the approximate cost of the project

at the bidding stage. See Ex. D, Email Re: Bid Package – Eleven Mile Creek

Stream Restoration. In addition, Plaintiff’s geotechnical engineering expert, Dr.

Carrier, states in his report “that International Paper is now contemplating

removing the dam.” See Ex. E, Carrier Report.

      The prejudice that IP would suffer from the admission of this kind of

evidence substantially outweighs any minimal probative value. Evidence of IP’s


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post-storm removal of the Kingsfield Road Dam could be construed by the jury as

an admission that the structure could not be maintained in a safe manner or that

cost was the reason why the structure was not removed sooner. But, as the

Advisory Committee recognized when promulgating Rule 407, post-incident

efforts to minimize risk do not mean that the defendant’s failure to take those steps

before the incident was tortious. See Fed. R. Evid. 407 Advisory Committee’s

Notes to 1972 Proposed Rules. The only way to prevent the jury from leaping to

that unfounded conclusion—and to eliminate the serious risk of juror confusion

about the issues to be resolved in the liability trial—is to exclude evidence of

subsequent remedial measures.

      Rule 403 works in tandem with Rule 407 to prevent this type of unfair

prejudice and juror confusion. See Fed. R. Evid. 407 Advisory Committee’s Notes

to 1972 Proposed Rules (if evidence is admissible under Rule 407, “the factors of

undue prejudice, confusion of issues, misleading the jury, and waste of time remain

for consideration under Rule 403”). Courts apply Rule 403 as a backstop to

exclude evidence of subsequent remedial measures in cases where Rule 407 is

found inapplicable. See Horrillo v. Cook, Inc., 664 F. App’x 874, 877 (11th Cir.

2016) (excluding evidence of subsequent remedial measures on Rule 403 grounds

because it was “irrelevant, more prejudicial than probative, and cumulative”).

Thus, to the extent that any evidence of IP’s post-storm restoration project is not


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barred by Rule 407, the Court should exclude that evidence under Rule 403 as

unfairly prejudicial and likely to confuse and mislead the jury.

                                  CONCLUSION

      The Court should exclude all evidence of IP’s post-storm remediation

project, including its removal of the Kingsfield Road Dam.

Dated: January 19, 2018                       Respectfully submitted,

                                              /s/ Daniel W. Nelson
Larry Hill                                    Daniel W. Nelson
Florida Bar No. 173908                        District of Columbia Bar No. 433415
MOORE, HILL & WESTMORELAND, P.A.              GIBSON, DUNN & CRUTCHER LLP
350 West Cedar Street                         1050 Connecticut Avenue, N.W.
Pensacola, FL 32502                           Washington, D.C. 20036
Telephone: (850) 434-3541                     Telephone: (202) 887-3687
Fax: (850) 435-7899                           Fax: (202) 530-9571
lhill@mhw-law.com                             dnelson@gibsondunn.com

Counsel for Defendant                         Counsel for Defendant




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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      I hereby certify that counsel for Defendant conferred with counsel for

Plaintiffs, and Plaintiffs oppose the relief sought in this motion.


                                               /s/ Daniel W. Nelson
                                               Daniel W. Nelson



      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      I hereby certify that this memorandum contains 2,919 words and therefore

complies with the word limit set forth in Local Rule 7.1(F).


                                               /s/ Daniel W. Nelson
                                               Daniel W. Nelson



                          CERTIFICATE OF SERVICE

      I hereby certify that on the 19th day of January, 2018, the foregoing

document was filed using the Court’s CM/ECF system. In addition, (1) the filing is

available for viewing and downloading via the CM/ECF system, and (2) the

CM/ECF system will send notification of this filing to all attorneys of record who

have registered for CM/ECF updates.


                                               /s/ Daniel W. Nelson
                                               Daniel W. Nelson


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